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                               EXHIBITB
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Filing# 73989484 E-Filed 06/22/2018 03:19:55 PM


                                                              IN THE CIRCUIT COURT OF THE 11rn
                                                              JUDICIAL CIRCUIT, IN AND FOR
                                                              MIAMI DADE COUNTY, FLORIDA

                                                              GENERAL JURlSDICTION DIVISION

        JANE DOE,                                            CASE NO:

                Plaintiff,
        vs.

        UNIVERSITY OF MIAMI, a Florida
        not for Profit Corporation,

                Defendant.
        -------------I
                                                  COMPLAINT

                Plaintiff JANE DOE by and through her undersigned counsel, sues Defendant

        UNIVERSITY OF MIAMI and alleges:

                1.      This is an action for damages far in excess of $15,000, exclusive of attorney's

        fees, interest, and costs.

                2.      At all times material hereto, Plaintiff JANE DOE was a minor and was resident of

        the Pennsylvania, a student at the University of Miami and is otherwise sui Juris.

                3.      At all times material hereto, Defendant UNIVERSITY OF MIAMI is a Florida

        not profit corporation duly authorized to do and doing business in Miami-Dade County, Florida.

                4.      Venue is proper in Miami-Dade County, Florida because the incident giving rise

        that this incident occurred in Miami-Dade County, Florida on the campus of the UNIVERSITY

        OF MIAMI, and the Defendant is duly authorized to do and doing business in Miami-Dade

       County, Florida.
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                                                                         CASE NO:


                                  FACTS GIVING RISE TO THIS CLAIM

           5.     The minor Plaintiff arrived at the UNIVERSITY OF MIAMI as a student athlete

   in the sport of soccer and was placed in the Pearson Dorm at the UNIVERSITY OF MIAMI with

   other student athletes.

          6.      The minor Plaintiff had come from a small town in Pennsylvania to Miami and

   the UNIVERSITY OF MIAMI.            When her parents said goodbye to her and left her at the

   UNIVERSITY OF MIAMI, they assumed that UNIVERSITY OF MIAMI of would do

   everything it could to protect their daughter at a school well known for its athlete programs for

   both men and women.

          7.      However, in reality, the minor, JANE DOE was given little or no instructions or

   warnings as to security on the campus of the UNIVERSITY OF MIAMI. Further, she was under

   no real counseling or supervision as she began her college career.

          8.      It would not be until six weeks after she arrived that coaches would contact her

   and be able to watch over her and give her instructions as to the life of a student athlete and what

   was expected of her and what was expected of the university.         JANE DOE was essentially on

   her own for the first six week which was all known, at all times, to all coaches, employees,

   administration, and other agents of the UNIVERSITY OF MIAMI.

          9.      The minor JANE DOE, was, an athlete in high school in Pennsylvanian and she

   was used to going out with friends and other athletes and being watched and protected by the

   male student athletes should anything were to occur with regard to nonstudents or any one and

   that is how she grow up in her hometown in Pennsylvanian.             However, she found out the

   UNIVERSITY OF MIAMI and the student athlete situation would be very very different from

   what she was used to.



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                                                                          CASE NO:


           10.       On or about July 5, 2014, the minor JANE DOE went out with some new

   friends that she had met to several local establishments near the UNIVERSITY OF MIAMI in

   Coconut Grove.     The minor Plaintiff came back to the dorm, having been provided alcohol by

   two of the student athletes that were with her, Alexander M. Figueroa and Jawand Blue who

   were 19 years old and 20 years old, respectively.

           11.    When the minor JANE DOE came back to the dorm with Alexander M. Figueroa

   and Jawand Blue, she was obviously inebriated as seen on video and should have been seen and

   acted upon by the dorm personnel who had to check in the athletes. In realty there was no check

   in which occurred but a short discussion occurred which there was no practice and procedure at

   the UNIVERSITY OF MIAMI to protect and to ascertain the condition of the minor, JANE

   DOE, and all three were allowed to come in to the dorm freely and without any meaningful

   interrogation or questioning, even though the agent of the UNIVERSITY OF MIAMI in place in

   the dorm knew, or should have known that they minor JANE DOE had only been at the

   UNIVERSITY OF MIAMI a few days.

           I 2.   Alexander M. Figueroa and Jawand Blue took the minor Plaintiff to their room

   and severely sexually assaulted her and raped her numerous times without her actual or consent

   as she was physically helpless to resist and was unaware of what was going to happened and

   what in fact happened in the Pearson dorm on the campus of the UNIVERSITY OF MIAMI.

           13.    When the minor Plaintiff recovered somewhat, she reported the crime to the

   UNIVERSITY OF MIAMI and the rapes were arrested.

          14.     In the days and months following the rapes, a couple of UNIVERSITY OF

   MIAMI personnel spoke with the minor Plaintiff but there was no real significate counseling or

   treatment, or assistance giving to the minor Plaintiff crime victim.



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           15.    Despite bullying by the Defendants immediately after learning that the rapes had

   been reported as well as being abused by other students and on social media trying to protect the

   two rapist student athletes. Despite all of these, the minor JANE DOE is resolute and not

   allowing even in a horrendous crime to keep her from her goals of playing soccer and graduating

   at the UNIVERSITY OF MIAMI which she in fact has accomplished.

                               NEGLIGENCE OF UNIVERSITY OF MIAMI

          16.     The Plaintiff realleges each and every allegation contained in Paragraph 1 through

   15 as fully set forth herein and further alleges:

          17.     At all times material hereto, Defendant UNIVERSITY OF MIAMI had a heighten

   duty to protect minor student athletes coming to Miami and the UNJVERSITY OF MIAMI for

   the first time from sexual assault, sexual abuse, rape, and other crimes where the minor Plaintiff

   is under the custody and control of the UNIVERSITY OF MIAMI leaving in a dormitory on the

   campus.

          18.     The UNIVERSITY OF MIAMI wrongfully breached its duty to this minor JANE

   DOE in the first few days that she was on the campus and in at least the following omissions or

   comm1ss10ns:

                  a.      Negligently allowing minors into a dormitory where there are no

                          protections from other student particularly other students who the

                          UNIVERSITY OF MIAMI knows or should have known had violate

                          tendencies;

                  b.      Negligently allowing minors into a dormitory where there are no

                          protections from other student who the UNIVERSITY OF MIAMI knows

                          or should have known had violate tendencies;



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                                                                 CASE NO:

               c.   Negligently allowing minors into a dormitory where there was no

                    meaningful guarding from being brought back into the dorm in an

                    impaired state by two student athletes;

               d.   Failing to have adequate security measures and policies in effect which

                    would prevent a sexual assault and rape in a UNIVERSITY OF MIAMI

                    dormitory on the premises of the UNIVERSITY OF MIAMI;

               e.   Failing to apply common sense and negligently exposing female or minor

                    students to unreasonably dangerous situations, including sexual assaults

                    and rape;

               f.   Failing to provide adequate and appropriate training to personnel checking

                    in or otherwise observing minors coming back to the UNIVERSITY OF

                    MIAMI dormitory, particularly when it is clear that they are in impaired

                    state;

              g.    Failing to take any and all acts that could have prevented and avoided this

                    sexual assault and rapes in question which amounts to gross negligence;

              h.    Failing to follow the UNIVERSITY OF MIAMI own safety rules,

                    guidelines, and standards for universities which were in placed at the time

                    of the subject rapes;

              i.    Failing to have the proper policies and procedures and mechanisms in

                    place to counsel, warn, and protect the minor student athletes coming to

                    campus of the UNIVERSITY OF MIAMI, particularly before the coaches

                    arrived six weeks later;

              J.    Failing to have any sort of systems or chaperons or other methods to



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                                                                   CASE NO:


                     prevent under age drinking and to provide other guidelines and protections

                     for the students who are minors arriving at the UNIVERSITY OF MIAMI;

               k.    Failing to have some sort of fail safe device or warning system should a

                     student, such as the minor JANE DOE, be attacked anywhere on the

                     campus in the UNIVERSITY OF MIAMI but more importantly, in a

                     dormitory owned, operated, and controlled by the UNIVERSITY OF

                     MIAMI;

               l.    Failing to have any sort of managers or security personnel roaming the

                     halls through the dorm particularly where minor student athletes are

                     housed during their first year at the UNIVERSITY OF MIAMI;

               m.    The UNIVERSITY OF MIAMI failed to properly put in place policies and

                     procedures to protect minor women athletes particular when the

                     UNIVERSITY OF MIAMI knew or should have known that the problem

                     of rape on campuses had been increasing throughout the country and

                     should have known that the UNIVERSITY OF MIAMI would not be an

                     exception to that disturbing trend which heightens the duty that the

                     UNIVERSITY OF MIAMI had to JANE DOE;

               n.    Violating MCAA rules regarding student athletes designed to protect

                     student athletes before these rapes occurred; and

               o.    Other acts of negligence or gross negligence that will be uncovered during

                     discovery in this matter.

                                         DAMAGES

         19.   As a direct and proximate result of the rapes by the two UNIVERSITY OF



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   MIAMI student athletes and for the above omissions or commissions by the UNIVERSITY OF

   MIAMI, understandably, the minor Plaintiff has sustained personal injury, pain and suffering,

   severe mental anguish, severe emotional distress, and diminishment of her capacity for the

   enjoyment of life.    These injuries are continuing and permanent in nature. Furthermore, the

   minor Plaintiff will in the future incur future expenses for treatment by psychologist,

   psychiatrist, or mental health counselors.

          WHEREFORE, Plaintiff JANE DOE demands judgment for damages against Defendant

   UNIVERSITY OF MIAMI and trial by jury of all issues triable as of right by jury.

   DATED this 22nd day of June, 2018.


                                                Respectfully submitted,

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                    IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT
                            IN AND FOR MIAMI-DADE COUNTY, FLORIDA


        JANE DOE,                                                 GENERAL JURISDICTION DIVISION

                       Plaintiff,                                 CASE NO. 2018-021364 CA (22)

        vs.

        UNIVERSITY OF MIAMI, a Florida
        not for profit corporation,

                       Defendant.
        ---------------I
                           DEFENDANT'S MOTION TO DISMISS COMPLAINT
               Pursuant to Fla. R. Civ. P. l.140(b), Defendant, University of Miami (the "University"),

        hereby moves to dismiss the Complaint filed by Plaintiff, Jane Doe ("Doe"), for failure to state a

        cause of action.


               I.      Allegations of Doe's Complaint

               Doe alleges that she arrived at the University as a minor 1 student athlete and was housed

        in the Pearson Dormitory. (Compl.   ~   5). Doe further alleges that, on July 5, 2014, shortly after

        arriving at the University, she went out to local establishments in Coconut Grove with new friends

        and was provided alcohol by two male student athletes, ages 19 and 20. (Compl. ~ 10). Doe alleges

        that she was inebriated when she returned to the dormitory and that the two male athletes took her

        to their room and sexually assaulted her. (Compl.    ~~   11, 12).

               Doe has asserted a single claim against the University for negligence. She asserts that the

        University "had a heighten [sic] duty to protect minor student athletes coming to Miami and the



               At the time of the incident in question, Doe was approximately two weeks shy of her
        eighteenth birthday.
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    University of Miami for the first time from sexual assault, sexual abuse, rape, and other crimes

    where the minor Plaintiff is under the custody and control of the University of Miami leaving [sic]

    in a dormitory on the campus." (Comp!.     ,r   17). Doe further vaguely asserts that the University

    breached its duty in a myriad of ways, including by (1) "[n]egligently allowing minors into a

    dormitory where there are no protections from other student [sic] particularly other students who

    the University knows or should have known had violate [sic] tendencies;" (2) failing to have

    adequate security measures and policies in effect which would prevent a sexual assault and rape

    in a University dormitory on campus; (3) failing to provide adequate training to personnel checking

    in or observing minors coming back to their dorm, particularly in an inebriated condition; (4)

    failing to follow the University's own (albeit undefined) safety rules, guidelines and standards; (5)

    failing to have systems or chaperons to prevent underage drinking; (6) failing to have security

    personnel roaming the dorm halls; and (7) violating undefined "MCAA [sic] rules regarding

    student athletes designed to protect" them. (Comp!.    ,r 18).

           II.     Florida Law Governing the Pleading of Negligence Claims

           "[T]he tort of negligence requires the establishment of duty, breach, proximate cause, and

    damages." Sewell v. Racetrac Petroleum, Inc.,_ So. 3d _ , 2017 WL 6598586, at *2 (Fla. 3d

    DCA Dec. 27, 2017). In Sewell, the Third District affirmed dismissal of a negligence claim on the

    ground that the defendant owed no legal duty as alleged. Duty is the threshold issue in a negligence

    case and "it is for the court to determine the existence of a duty." Id. Duty "exists as a matter of

    law and is not a factual question for the jury to decide." Id. (quoting McCain v. Florida Power

    Corp., 593 So. 2d 500, 503 (Fla. 1992)). Moreover, a claim premised on negligence that merely

    alleges, in conclusory fashion, that the defendant engaged in conduct that constituted a negligent

    breach of a duty owed to the plaintiff, is patently insufficient and warrants dismissal. Raymond,


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    James & Associates, Inc. v. Zumstorchen Investment, Ltd., 488 So. 2d 843, 845 (Fla. 2d DCA

    1986). Here, Doe's allegations of duty are conclusory and are not supported by applicable law.


            III.   The University Owed no Heightened Duty to Plaintiff

            Although Doe alleges that the University owed her some undefined heightened duty of

    care, her complaint contains no allegations to support such a conclusory statement.


                   A. There Existed no Fiduciary Duty on the Part of the University

            Courts throughout the country have consistently held that a university owes no fiduciary

    duty to its students based upon their status as students. See, e.g., Knelman v. Middlebury Coll., No.

    5:1 l-cv-123, 2012 WL 4481470 (D. Vt. Sept. 28, 2012) (Vermont "has never recognized a

    fiduciary relationship between a student and a school or school official" and such fiduciary

    relationships generally do not exist in the school context); Tunne v. Hendrick, No. 5:l0CV-00181,

    2012 WL 3644852 (W.D. Ky. Aug. 24, 2012) (under Kentucky law a student-teacher relationship

    does not generally give rise to a fiduciary duty); Valente v. Univ. of Dayton, 438 Fed. Appx. 381,

    387 (6th Cir. 2011) (under Ohio law, no fiduciary relationship exists between a university and its

    students); Bass ex rel Bass v. Miss Porter's Sch., 738 F. Supp. 2d 307,330 (D. Conn. 2010) (finding

    no fiduciary relationship between a student and a private high school and noting that the court's

    research "has not revealed a single case in any state or federal court within the Second Circuit

    holding or even suggesting that a secondary school -     public or private, boarding or day-session

    -   or its employees owe a fiduciary duty to its students"); Vurimindi v. Fuqua Sch. Of Bus., No.

    10-234, 2010 WL 3419568, at *7 (E.D. Pa. Aug. 25, 2010) ("university personnel do not owe a

    fiduciary duty to students under Pennsylvania law"); Lary v. Wesleyan Univ., No. CV055003943,

    2009 WL 865679, at * 12 (Conn. Super Ct. Mar. 10, 2009) (declining to find a fiduciary

    relationship between a university and its students); Manning v. Temple Univ., No. 03-4012, 2004

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    WL 3019230, at *10 (E.D. Pa. Dec. 30, 2004), aff'd, 157 Fed. Appx. 509 (3d Cir. 2005) ("the

    parties have not called to our attention any Pennsylvania case which has ruled that a graduate

    school or its professors owe any fiduciary duties to graduate students"); Hendricks v. Clemson

    Univ., 578 S.E.2d 711, 715-16 (S.C. 2003) (finding no fiduciary relationship between a university

    student and university advisor under South Carolina law); Shapiro v. Butterfield, 921 S.W.2d 649,

    651 (Mo. Ct. App. 1996) (finding a graduate student failed to allege a fiduciary relationship,

    because she cited no cases finding a fiduciary relationship between a student and faculty advisor

    and the petition contained only bare allegations). The student-educational institution relationship

    usually is not considered a fiduciary relationship because school administrators have "divided

    loyalties," as they serve the interests of both the student in question and other students and the

    institution, "unlike other fiduciary relationships in which the fiduciary must act primarily for the

    benefit of another." Ryan v. Univ. of NC. Hospitals. 609 S.E.2d 498, at *4 (N.C. Ct. App. 2005)

    (unpublished table opinion). See also McFayden v. Duke Univ., 786 F.Supp.2d 887, 986

    (M.D.N.C. 2011) ("the student-administrator relationship is not generally a fiduciary

    relationship").

           In short, as those courts to have considered the issue have held, "a typical student-

    university relationship does not, without more, establish a fiduciary relationship between student

    and university." Childers v. N.Y. and Presbyterian Hosp., 36 F.Supp.3d 292,306 (S.D.N.Y. 2014)

    (emphasis in original). Florida law is in accord. See, e.g., Morrison v. University of Miami, No.

    1:15-cv-23856-UU, 2016 WL 3129490, at 7 (S.D. Fla. Jan. 20, 2016) (collecting cases and stating

    that "[t]he greater weight of authority appears to support the University's position that a fiduciary




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    duty does not simply arise because of students' status, and this Court agrees"). 2


                   B. There was no Special Relationship Between the University and Doe

           In her complaint, Doe asserts that she was under the "custody and control" of the University

    and that, as a result, the University had a duty to protect her. That is not the case. As the Third

    Circuit explained in Bradshaw v. Rawlings, 612 F. 2d 135, 138-140 (3d Cir. 1979), cert denied,

    446 U.S. 909 (1980), a negligence case that involved a college student's underage drinking:


           Our beginning point is a recognition that the modern American college is not an
           insurer of the safety of its students. [T]he authoritarian role of today's college
           administrations has been notably diluted in recent decades .... There was a time
           when college administrators and faculties assumed a role in loco parentis. Students
           were committed to their charge because the students were considered minors. A
           special relationship was created between college and student that imposed a duty
           on the college to exercise control over student conduct and, reciprocally, gave the
           students certain rights of protection by the college .... [F]or purposes of examining
           fundamental relationships that underlie tort liability, the competing interest of the
           student and of the institution of higher learning are much different today than they
           were in the past.
    "[T]he view that these institutions stand in loco parentis - in place of the parent -with respect to

    the student ... is now disfavored because it no longer represents contemporary values." Sharick v.

    Southeastern University of the Health Sciences, Inc., 780 So. 2d 142, 142 (Fla. 3d DCA 2001)

    (Ramirez, J. concurring).

           No special relationship even arguably was created by virtue of the fact that Doe was a

    student athlete as Doe appears to allege. That is because the injury she allegedly sustained (sexual




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            In Morris v. Brandeis Univ., No. CA002161, 2001 WL 1470357, at *6 (Mass. Super. Ct.
    Sept. 4, 2001 ), the court clarified that the relationship between students and universities is
    contractual rather than fiduciary. So, too, Florida law recognizes that the relationship between a
    student and a private university is contractual in nature. Sirpal v. Univ. of Miami, 309 Fed. Appx.
    924,292 (11th Cir. 2013). See also Jarzynka v. St. Thomas Univ. Sch. ofLaw, 310 F.Supp.2d 1256,
    1268 (S.D. Fla. 2004) ("Under Florida law, a student and a private university have a contractual
    relationship.").

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    assault/rape) did not occur while she was participating in a scheduled athletic practice or event.

    Rather, the alleged assault occurred while she was acting in her capacity as a private student. For

    example, in Kleinknecht v. Gettysburgh College, 989 F. 2d 1360 (3d Cir. 1993), parents of a

    lacrosse player who suffered a fatal heart attack during intercollegiate lacrosse practice brought

    suit against the college for negligence in connection with its medical preparedness for and response

    to this incident. The court held that a duty existed on the part of the college. The court reasoned

    that the student had been recruited to play lacrosse at the college and, at the time he was stricken,

    he was not engaged in his own private affairs at Gettysburgh College. Rather, he was participating

    in a scheduled athletic practice for an intercollegiate team sponsored by the college under the

    supervision of college employees. On those facts, the court reasoned, a special relationship existed

    between the college and the student that was sufficient to impose a duty to provide prompt and

    adequate emergency medical services on the college. Kleinknecht, 989 F. 2d at 1367.

           Unlike in Kleinknecht, this is not a case where Doe was injured while participating in a

    soccer practice or event at the University sponsored by the University under the supervision of

    University employees. Rather, Doe allegedly was sexually assaulted in the dormitory room of her

    assailants after engaging in underage drinking in Coconut Grove in one or more establishments

    neither owned nor controlled by the University. Doe does not allege that the University was

    involved in serving, supplying or purchasing the alcohol that rendered her impaired and, under

    such circumstances, there exists no duty based on a custodial relationship between the University

    and its students. Kleinknecht, 989 F. 2d at 1368. Moreover, even where a university promulgates

    social policies designed to prevent underage drinking, and even if the university understands that

    underage drinking is common on college campuses, universities do not have a duty to protect

    underage students from drinking alcoholic beverages. Hooker v. Lehigh University, 800 F. Supp.



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    234 (E.D. Pa. 1992). Finding such a duty would be tantamount to finding a university to be liable

    in loco parentis, despite the fact that there exists no such legal basis for imposing liability on a

    college. Id at 240-41.

            "Colleges and universities are educational institutions, not custodial." Apffel v. Huddleston,

    50 F. Supp. 2d 1129, 1133 (D. Utah 1999) (dismissing case against college officials due to death

    of a student who fell to his death during a freshman party on the grounds that no special relationship

    existed between freshman and college officials sufficient to protect the freshman). "[S]tatus as an

    out-of-state freshman is insufficient to create a 'special relationship' or an affirmative duty

    between plaintiffs and defendants." See also Freeman v. Busch, 349 F. 3d 582, 587-88 (8th Cir.

    2003) ("since the late 1970s, the general rule is that no special relationship between a college and

    its own students because a college is not an insurer of the safety of its students"). Moreover, the

    fact that Doe was just shy of turning eighteen years of age when the sexual assault allegedly

    occurred does not change the analysis and somehow transform the University's relationship with

    Doe into a custodial one. In Hartman v. Bethany College, 778 F. Supp. 286 (N.D. W.Va. 1991), a

    seventeen-year-old female freshman was injured on campus after illegally consuming alcohol at

    on-campus parties. The plaintiff argued that the doctrine of in loco parentis applied to her

    relationship with the college and that the college breached the heightened duties it owed to her

    under this doctrine. The court flatly rejected that premise, stating:

           College students today are no longer minors; they are now regarded as adults in
           almost every phase of community life .... It is not reasonable to conclude today that
           seventeen year old college students necessarily require parental protection and
           supervision. If they did, society might place many more limitations upon the ability
           of a minor to attend college than currently exist. A college freshman is just that;
           whatever his or her age. A college does not stand in loco parentis to its seventeen
           year old college freshmen.

    778 F. Supp. At 294 (internal quotations and citation omitted).



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           In short, Doe's complaint is devoid of any allegation sufficient to deviate from the well-

    established general rule that there exists no special relationship between a university and its

    students and, thus, no heightened duty on the part of the university to protect. Having failed to

    allege any facts to support the notion that there existed between Doe and the University any kind

    of a special or fiduciary relationship that would give rise to a heightened duty on the part of the

    University, the Court should look to whether a duty existed on the part of the University to prevent

    Doe from consuming alcohol and to prevent her from being sexually assaulted.


           IV.     The University had no Duty to Protect Doe Merely Because she was Living in
                   a University Dormitory
           Doe appears in her complaint to contend that the University somehow was negligent in

    failing to protect her from sexual assault simply by virtue of the fact that she was living in a

    University dormitory. Her conclusory allegations, however, fail to state a cause of action.

           It is well-established that "[t]he touchstone for determining whether a duty exists is

    'foreseeability."' Sewell, 2017 WI 6598586, at *2. In Cutler v. Board of Regents of the State of

    Florida, 459 So. 2d 413 (Fla. 1st DCA 1984), a female freshman student at FAMU, who was

    assaulted and raped in her on-campus dormitory room, brought an action alleging, inter alia, (1)

    that FAMU had represented that the dormitory was reasonably safe and secure for the safety of

    female students, (2) that university officials were aware or should have been aware of the existence

    of numerous other assaults, attacks and rapes on female members of the university community and

    (3) that assailants gained access to her room through the common areas of the dormitory and

    assaulted her. The appellate court agreed that the allegations of the complaint were insufficient to

    state a cause of action, explaining that, "[a]lthough Florida recognizes no duty on the landlord's

    part to protect his tenants against criminal conduct of third parties merely by reason of the landlord-

    tenant relationship, recent Florida decisions have held that a landlord, who recognizes and assumes

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    the duty to protect his tenants from foreseeable criminal conduct, may be liable if he fails to take

    reasonable precautions to prevent injury to his tenants from this conduct." 459 So. 2d at 414-15.

    The appellate court found, however, that the plaintiff student had failed sufficiently to allege the

    requisite element of duty on the part of the university:


           Although appellant attempts to allege foreseeability, the bare allegations of her
           complaint are conclusory in nature, without supporting facts. She alleges that
           university officials were aware, or should have been aware, of the existence of other
           assaults and rapes on female members of the university community; but she has
           failed to allege where or when these assaults and rapes occurred, or any other
           circumstances indicating the basis upon which to presume such knowledge on the
           part of [Board of Regents]. Did they occur on or nearby the FAMU campus or in
           the next town? Did they occur at some remote time in the past, or within reasonably
           close proximity in time to the attack against appellant? ... Moreover, the complaint
           fails to allege that FAMU either expressly or impliedly assumed a duty to provide
           adequate security measures at Wheatley Hall. No facts are alleged concerning
           security measures in force at the time the landlord-tenant relationship between the
           parties began or whether such security measures, if they existed, were in force when
           the rape occurred. Although appellant does allege that FAMU represented to her
           that the university was reasonably safe and secure for the safety of female students,
           we are unable to infer from this allegation facts sufficient to support a cause of
           action for breach of an assumed duty to protect student tenants from foreseeable
           criminal conduct.

    459 So. 2d at 415.

           Doe's complaint suffers from all of the same infirmities as in the Cutler case and, thus,

    dismissal is required. Doe's complaint is replete with conclusory allegations of a heightened duty

    on the part of the University that are contrary to law and are insufficient as a matter of law to

    support a finding of any duty on the part of the University to protect Doe from underage drinking

    and from the sexual assault that allegedly occurred. The complaint is devoid of any allegations to

    support the notion that the alleged sexual assault on Doe was foreseeable. See, e.g., Shivers v.

    University of Cincinnati, No. 06AP-209, 2006 WL 3008478 (Ct. App. Oh. 2006) (evidence of

    criminal activities on a university campus did not support a finding that the rape of a student in a

    dormitory bathroom was foreseeable and, thus, the university did not have a duty to protect the

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    student as required for the university to be held liable for negligence, where other rape incidents

    were temporally and spatially distanced from the dormitory rape). Doe's complaint is devoid of

    any allegations of the University's alleged failure to meet its alleged duty to protect Doe. See Doe

    v. Baylor University, 240 F. Supp. 3d 646 (W.D. Tex. 2017) ("while Does 1, 3 and 5 allege they

    were sexually assaulted on Baylor's campus, they have not alleged that Baylor failed to meet its

    duty to provide them with safe housing, thereby causing their assaults, nor have they provided any

    other exception to the general rule that a university has no duty to protect its students").

           In short, this is not a case where Doe alleges that she was the victim of a crime because the

    University, her landlord, failed to install locks on her door or otherwise failed to take basic

    necessary safety measures. Because Doe's complaint fails to state a cause of action against the

    University for negligence, the complaint should be dismissed.

                                                           Respectfully submitted,

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                                      CERTIFICATE OF SERVICE

    I HEREBY CERTIFY that a true and correct copy of the foregoing was served electronically

    via the Florida Court's e-Filing Portal this 26th day of July, 2018, upon the following:

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                                                                 By:     s/ Teresa Ragatz
                                                                         Teresa Ragatz




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                                                                IN THE CIRCUIT COURT OF THE 11 TH
                                                                JUDICIAL CIRCUIT, IN AND FOR
                                                                MIAMI DADE COUNTY, FLORIDA

                                                                GENERAL JURISDICTION DIVISION

        JANE DOE,                                               CASE NO: 2018-021364 CA 22

               Plaintiff,
        vs.

        UNIVERSITY OF MIAMI, a Florida
        not for Profit Corporation,

               Defendant.
        _______________,;/
                            NOTICE OF CHARGING AND RETAINING LIENS

               TO ALL PARTIES, ATTORNEYS AND ALL OTHERS WHO MAY BE CONCERNED:

        THE LAW FIRM OF STUART H. SHARE, P.A. and THE LAW OFFICES OF DEAN M.

        GETTIS, P.A. hereby asserts a charging lien on all proceeds and benefits in whatever form

        recovered by, or on behalf of, Plaintiff by settlement, judgment or otherwise and a retaining lien

        on all files, papers and things in its possession related to this representation and case to secure

        payment of its outstanding attorney's fees and costs.
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                                                                    CASE NO: 2018-021364 CA 22


                                   CERTIFICATE OF SERVICE

           WE HEREBY CERTIFY that a true and correct copy of forgoing was furnished by E-mail

    Only Pursuant to Rule 2.516 on this 20 th day of August, 2018 to: Eric D. lsicoff, Esq., Isicoff

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                                                Respectfully submitted,

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